     Case 2:10-cr-00585-JCM-BNW            Document 117         Filed 05/13/15      Page 1 of 1




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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                   ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                       2:10-CR-00585-RLH-PAL
                                         )
10         vs.                           )                            ORDER
                                         )                  (Motion for Early Termination of
11   TARHAIN WOODS,                      )                   Supervised Release-#116)
                                         )
12                     Defendant.        )
     ____________________________________)
13

14          Before the Court is Defendant’s Motion for Early Termination of Supervised Release

15   (#116, filed May 11, 2015) and the Court will exercise its authority and refer this matter to the

16   United States Attorney for a response to the Motion.

17          IT IS THEREFORE ORDERED that Defendant’s Motion for Early Termination of

18   Supervised Release (#116) is hereby REFERRED to the UNITED STATES ATTORNEY for a

19   response within forty-five (45) days of the entry this Order. Defendant will then have fifteen (15)

20   days thereafter to file a reply to the response of the United States Attorney, and the matter will be

21   referred for decision.

22          DATED: May 13, 2015.

23                                                          ____________________________________
                                                            Roger L. Hunt
24                                                          United States District Judge

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